             Case 3:21-cv-03496-AMO Document 240 Filed 07/29/24 Page 1 of 9



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12

13                                 UNITED STATES DISTRICT COURT
14                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
15                                     SAN FRANCISCO DIVISION
16

17   SURGICAL INSTRUMENT SERVICE                     Case No.: 3:21-cv-03496-AMO-LB
     COMPANY, INC.,
18
                                        Plaintiff/   JOINT STIPULATION AND [PROPOSED]
19                        Counterclaim-Defendant     ORDER REGARDING THE SCOPE OF THE
                                                     COURT’S SUMMARY JUDGMENT ORDER
20         vs.                                       (ECF NO. 204)
21   INTUITIVE SURGICAL, INC.,
22                                    Defendant/     Judge: The Honorable Araceli Martínez-Olguín
                                 Counterclaimant.
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      JOINT STIPULATION AND [PROPOSED] ORDER                           Case No. 3:21-cv-03496-AMO-LB
      REGARDING THE SCOPE OF THE COURT’S
      SUMMARY JUDGMENT ORDER (ECF NO. 204)
              Case 3:21-cv-03496-AMO Document 240 Filed 07/29/24 Page 2 of 9



 1                  Plaintiff Surgical Instrument Service Company, Inc., and Defendant Intuitive Surgical,
 2   Inc. (collectively, the “Parties”) hereby stipulate as follows and respectfully request that the Court
 3   endorse this stipulation with an order:
 4                  WHEREAS, on May 10, 2021, Plaintiff filed its Complaint (ECF No. 1);
 5                  WHEREAS, on December 14, 2021, Defendant filed its Answer, Affirmative Defense,
 6   and Counterclaims (ECF No. 75.);
 7                  WHEREAS, Defendant pleaded as an affirmative defense that “SIS’s claims are barred,
 8   in whole or in part, by the doctrine of unclean hands because SIS has acted contrary to applicable FDA
 9   regulations and/or engaged in other misconduct, including tortious interference with Intuitive’s contracts
10   and business relationships” (ECF No. 75 at 39);
11                  WHEREAS, Defendant pleaded Counterclaims for (1) unfair competition and false
12   advertising under the Lanham Act, 15 U.S.C. § 1125, (2) unlawful, unfair and deceptive acts or practices
13   in the conduct of trade or commerce under C.A. Stat. § 17200, (3) false advertising under C.A. Stat.
14   § 17500, (4) common law unfair competition, and (5) tortious interference with contract (see generally
15   ECF No. 75 at 40–65);
16                  WHEREAS, on March 23, 2023, Plaintiff moved for partial summary judgment, asking
17   the Court to “grant partial summary judgment on Intuitive’s counterclaims 1-4 and its unclean hands
18   affirmative defense as they relate to FDA,” (ECF No. 127 at 23:4-6 (emphasis added));
19                  WHEREAS, Plaintiff did not move for summary judgment as to aspects of Defendant’s
20   counterclaims and unclean hands defense that do not relate to FDA;
21                  WHEREAS, on March 31, 2024, the Court issued an order granting in-part and denying
22   in-part Plaintiff’s motion for summary judgment, which order stated that “Intuitive’s false advertising
23   counterclaims, including Counts One through Four are DISMISSED” and that “the Court GRANTS
24   SIS’s motion for summary adjudication on Intuitive’s affirmative defense of unclean hands” (ECF No.
25   204 at 19:11-13);
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      JOINT STIPULATION AND [PROPOSED] ORDER                                      Case No. 3:21-cv-03496-AMO-LB
      REGARDING THE SCOPE OF THE COURT’S
      SUMMARY JUDGMENT ORDER (ECF NO. 204)
             Case 3:21-cv-03496-AMO Document 240 Filed 07/29/24 Page 3 of 9



 1                  WHEREAS, on May 23, 2024, the parties filed a Joint Case Management Statement in
 2   which they set forth competing positions regarding the scope of the Court’s summary judgment order
 3   and its effect on Defendant’s counterclaims and affirmative defense (ECF No. 231 at 5-6);
 4                  WHEREAS, the Parties subsequently held a telephonic meet-and-confer on June 6, 2024;
 5   and
 6                  WHEREAS, as discussed during the Case Management Conference held on June 7, 2024,
 7   the parties and the Court agree that the Court’s summary judgment order granted only partial summary
 8   judgment on Defendant’s counterclaims and affirmative defense;
 9                  NOW THEREFORE, pursuant to the Court’s instruction at the June 7, 2024 Case
10   Management Conference, the Parties jointly submit the Proposed Order attached hereto as Exhibit A,
11   which clarifies that the Court’s summary judgment order granted partial summary judgment on
12   Defendant’s counterclaims and affirmative defense only to the extent that such counterclaims and
13   affirmative defense are “premised on SIS’s representations that Section 510(k) clearance was not
14   necessary” or “rely on regulatory interpretation left to the FDA in the first instance.” (ECF No. 204 at
15   13:10-13.) Defendant’s counterclaims and affirmative defense are dismissed to the extent that they “rely
16   on proving a violation of the FDCA.” (Id. at 13:17; see also 14:11-17.) The parties respectfully ask the
17   Court to enter the Proposed Order attached hereto as Exhibit A on the docket in this case.
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20   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
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      JOINT STIPULATION AND [PROPOSED] ORDER                                    Case No. 3:21-cv-03496-AMO-LB
      REGARDING THE SCOPE OF THE COURT’S
      SUMMARY JUDGMENT ORDER (ECF NO. 204)
           Case 3:21-cv-03496-AMO Document 240 Filed 07/29/24 Page 4 of 9



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     JOINT STIPULATION AND [PROPOSED] ORDER                              Case No. 3:21-cv-03496-AMO-LB
     REGARDING THE SCOPE OF THE COURT’S
     SUMMARY JUDGMENT ORDER (ECF NO. 204)
           Case 3:21-cv-03496-AMO Document 240 Filed 07/29/24 Page 5 of 9



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     JOINT STIPULATION AND [PROPOSED] ORDER                           Case No. 3:21-cv-03496-AMO-LB
     REGARDING THE SCOPE OF THE COURT’S
     SUMMARY JUDGMENT ORDER (ECF NO. 204)
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 1                                              E-Filing Attestation
 2          I, Kenneth A. Gallo, am the ECF User whose ID and password are being used to file this
 3   document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that each of the signatories
 4   identified above have concurred in this filing.
 5
                                                                /s/ Kenneth A. Gallo
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      JOINT STIPULATION AND [PROPOSED] ORDER                                   Case No. 3:21-cv-03496-AMO-LB
      REGARDING THE SCOPE OF THE COURT’S
      SUMMARY JUDGMENT ORDER (ECF NO. 204)
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                  EXHIBIT A
              Case 3:21-cv-03496-AMO Document 240 Filed 07/29/24 Page 8 of 9



 1         [PROPOSED] ORDER CLARIFYING THE SCOPE OF THE COURT’S SUMMARY
                            JUDGMENT ORDER (ECF NO. 204)
 2

 3          On March 23, 2023, Plaintiff moved for partial summary judgment, asking the Court, as relevant
 4   here, to “grant partial summary judgment on Intuitive’s counterclaims 1-4 and its unclean hands
 5   affirmative defense as they relate to FDA.” (ECF No. 127 at 23:4-6.)
 6          On March 31, 2024, the Court issued an order granting in-part and denying in-part Plaintiff’s
 7   motion for summary judgment. Among other things, the Court ruled that Defendant’s “counterclaims
 8   that rely on proving a violation of the [Food, Drugs, and Cosmetic Act (FDCA)] cannot proceed” (ECF
 9   No. 204 at 13:17), and that Defendant could not maintain an unclean hands defense based on an
10   assertion that Plaintiff “violated FDA regulations” (id. at 14:9-28).
11          Although Plaintiff moved only for partial summary judgment, the Court’s order stated that
12   “Intuitive’s false advertising counterclaims, including Counts One through Four are DISMISSED” and
13   that “the Court GRANTS SIS’s motion for summary adjudication on Intuitive’s affirmative defense of
14   unclean hands.” (Id. at 19:11-13).
15          The parties and the Court agree that the Court’s summary judgment order did not dismiss Counts
16   One through Four of Defendant’s counterclaims and Defendant’s affirmative defense of unclean hands
17   in their entirety, but rather granted partial summary judgment to Plaintiff only to the extent that
18   Defendant’s counterclaims and/or unclean hands defense are “premised on SIS’s representations that
19   Section 510(k) clearance was not necessary” or “rely on regulatory interpretation left to the FDA in the

20   first instance.” (ECF No. 204 at 13:10-13.) The Court held that Defendant’s “counterclaims that rely on
21   proving a violation of the FDCA cannot proceed.” (Id. at 13:17.) Consistent with that conclusion, the
22   Court likewise held that Intuitive could not base an unclean hands defense on the assertion that SIS
23   “violated FDA regulations.” (Id. at 14:11-17.)
24          Defendant’s counterclaims and affirmative defense are not dismissed to the extent that they are
25   predicated on conduct, including conduct Defendant has alleged at paragraph 85, subparts (i)-(iv) and
26   (vi) through (ix) of its Answer, Affirmative Defense and Counterclaims (ECF No. 75), that is not
27   “premised on SIS’s representations that Section 510(k) clearance was not necessary,” does not “rely on
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      [PROPOSED] ORDER REGARDING THE SCOPE OF                                     Case No. 3:21-cv-03496-AMO-LB
      THE COURT’S SUMMARY JUDGMENT ORDER (ECF
      NO. 204)
             Case 3:21-cv-03496-AMO Document 240 Filed 07/29/24 Page 9 of 9



 1   regulatory interpretation left to the FDA in the first instance,” and does not “rely on proving a violation

 2   of the FDCA” or that SIS “violated FDA regulations.” The Court hereby clarifies its summary judgment

 3   order (ECF No. 204), nunc pro tunc, to that effect.

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 7          IT IS SO ORDERED.

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 9   Dated _______________________,
                            July 29 2024                           BY THE COURT:

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13                                                                HON. ARACELI MARTÍNEZ-OLGUÍN
                                                                  United States District Judge
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      [PROPOSED] ORDER REGARDING THE SCOPE OF                                     Case No. 3:21-cv-03496-AMO-LB
      THE COURT’S SUMMARY JUDGMENT ORDER (ECF
      NO. 204)
